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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  PAUL CATLIN,                                   )
            Plaintiff,                           )
                                                 )
         vs.                                     )       1:10-cv-00451-LJM-MJD
                                                 )
  ACTIS GLOBAL VENTURES, INC,                    )
  LAMARCA UNLIMITED, LLC,                        )
            Defendant.                           )


                            ORDER AND ENTRY OF JUDGMENT

         On March 17, 2011, the Court ordered the parties to show cause, on or before April

  7, 2011, in writing, the basis for federal jurisdiction. The parties have failed to show cause

  within the Court-ordered deadline. The Court hereby REMANDS this cause to Hamilton

  County, Indiana, Superior Court for lack of federal jurisdiction. Judgment is entered

  accordingly.

         IT IS SO ORDERED this 12th day of April, 2011.



                                                     ________________________________
                                                     LARRY J. McKINNEY, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana

  LAURA A. BRIGGS, CLERK
  United States District Court
  Southern District of Indiana


  By:
        Deputy Clerk


  Distribution attached.
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